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                                                                    United States District Court
                                                                      Southern District of Texas

                                                                         ENTERED
                                                                         July 26, 2023
                     UNITED STATES DISTRICT COURT
                                                                      Nathan Ochsner, Clerk
                      SOUTHERN DISTRICT OF TEXAS
                         GALVESTON DIVISION

TERRY PETTEWAY, et al.,                 §
                                        §
       Plaintiffs,                      §
                                        §
VS.                                     §             3:22-CV-57
                                        §
GALVESTON COUNTY, TEXAS,                §
et al.,                                 §
                                        §
       Defendants.                      §

                                   ORDER

       During the pretrial conference yesterday, the court early-admitted

exhibits JX 1–45. After further consideration, the court will also early-admit

the other exhibits to which neither party has objected.

       Accordingly, the court admits the following exhibits:

       x Plaintiffs’ Exhibits: PX 10–11, 14, 18–20, 25, 27, 30–33, 35,
         38–39, 41, 45, 50, 52, 54–57, 63–64, 72, 87, 90, 95, 101, 104–
         105, 114, 116–117, 121, 123–125, 130, 132, 138, 143, 149, 156,
         159–161, 165, 167, 173, 177, 180–181, 183–189, 191, 193–197,
         199–205, 207–209, 211–219, 222–227, 229–234, 236, 238–
         239, 241–242, 244–245, 247–248, 250, 252–253, 256, 258–
         260, 262, 264–268, 270, 274–277, 281–282, 284, 287–293,
         295–299, 303–304, 306–307, 309, 312, 317, 322, 324, 331,
         333–334, 336, 338–339, 407, 426, 497, 520–523, 526–527,
         529–530, 541, 544–562, 570, 574, 576–577, 579, 581–595.

       x Defendants’ Exhibits: DX 4–5, 8–11, 17, 23, 25, 27, 29, 32, 34–
         38, 41, 43, 46, 50–51, 53–54, 56, 62–63, 69, 74, 79–80, 84–
         89, 92–100, 105, 109–110, 112–113, 115, 120–121, 127–128,


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         135–139, 141, 146–151, 153–155, 159, 163, 166, 168–169, 175–
         176, 187–189, 194–195, 199–204, 208–209, 213, 232–241,
         246, 248–258, 265, 271, 282, 284–285, 287–288.
The court will address the parties’ objections to the remaining exhibits before

trial commences on August 7. See Dkts. 204-2, 207.

      Signed on Galveston Island this 26th day of July, 2023.




                                       ___________________
                                       __________________________
                                       JEFFREY VINCENT BROW
                                                       BROWN
                                                     DISTRIC JUDGE
                                       UNITED STATES DISTRICT




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